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               Exhibit A
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Lynch et al. v. CCC
Megan O'Malley <momalley@ompc-law.com>
Tue 4/4/2023 3:30 PM
To: Fisher, Ian H. <IFisher@taftlaw.com>;Morrell, Benjamin S. <BMorrell@taftlaw.com>
Cc: Alex Raynor <alex.raynor@ompc-law.com>
Counsel:

Please provide your updated privilege log, regarding withheld ESI, by tomorrow close of business so that
we have time to review it prior to our call on Thursday. Please also include on the log any ESI or other
documents withheld on the basis of the unspecific "protection" to which you refer in your Notice of
Compliance dated March 31, 2023, and, when doing so, please let us know what you are referring to as
the claimed "protection."

Thank you,
Megan

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
facsimile: 312.697.1384

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